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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________

MICHAEL RECH,
                                                              DECISION & ORDER
                               Plaintiff,
                                                              17-CV-6418FPG
               v.

COUNTY OF MONROE, et al.,

                        Defendants.
_______________________________________



               On April 29, 2021, the plaintiff, Michael Rech, filed a motion for permission for

electronic case filing through the Court’s system (“CM/ECF”). (Docket #88). For the reasons

that follow, the motion is granted.

               Rule 5 of the Federal Rules of Civil Procedure provides that a pro se litigant “may

file electronically only if allowed by court order or by local rule.” Fed. R. Civ. P. 5(d)(3)(B)(i).

The Local Rules of Civil Procedure incorporate by reference the Court’s CM/ECF

Administrative Procedures Guide (“the Guide”), which in turn provides the requirements and

procedures for electronic filing. See W.D.N.Y. Local Rule 5.1(a). The Guide allows the Court,

in its discretion, to “grant a pro se litigant who demonstrates a willingness and capability to file

documents electronically, permission to register to do so.” W.D.N.Y. Administrative Procedures

Guide for Electronic Filing, Administrative Procedures. Such permission, however, may be

“revoked at any time.” Id.

               Rech requests permission to file electronically due to health concerns, as well as

his professed difficulty in timely notifying the Court of his objections to certain of the

defendants’ requests. (Docket # 88, 89). Having considered Rech’s submission, his request for
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permission to file electronically in this case through CM/ECF (Docket # 88), is GRANTED,

subject to the following conditions:

                Rech shall (1) complete and file with the Clerk of the Court the required CM/ECF

registration form, as outlined in Section 1(C) of the Guide;1 (2) contact the Clerk of the Court’s

Operations Manager, Elizabeth Burger at (716) 551-1771, to verify the email address for his

receipt of electronic notices of filings in this case; (3) obtain instructions on accessing and

viewing documents received in email notifications; and (4) familiarize himself with and abide by

the rules and procedures in the Guide. As noted above, this permission may be revoked by the

Court at any time and the Court will not hesitate to revoke permission if the privilege is abused

or if Rech otherwise fails to abide by the pertinent rules and procedures.

                On or before, June 30, 2021, Rech shall file an affirmation in this matter in which

he affirms that (1) he has satisfied the above conditions, including receiving instructions on

accessing and viewing documents received in email notifications; and (2) he understands that he

will no longer receive documents by regular mail. Until the affirmation is filed, defendants shall

continue to mail to the plaintiff copies of all documents and attachments filed through CM/ECF.



IT IS SO ORDERED.




                                                                    MARIAN W. PAYSON
                                                                  United States Magistrate Judge

Dated: Rochester, New York
       May __,
           25 2021


        1
          The registration form is available on the Court’s website at
https://www.nywd.uscourts.gov/sites/nywd/files/combinedRegistrationForm2020.pdf

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